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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ORLANDO GARCIA,                                  Case No. 21-cv-09182-BLF (SK)
                                   8                    Plaintiff,
                                                                                          AMENDED ORDER TO SHOW CAUSE
                                   9             v.

                                  10     HARDIAL S. PANNU, et al.,                        Regarding Docket Nos. 53, 54, 55
                                  11                    Defendants.

                                  12          This case was referred to the undersigned for settlement on July 19, 2023. (Dkt. No. 53.)
Northern District of California
 United States District Court




                                  13   The scheduling conference for settlement was scheduled for August 3, 2023, at 9:00 a.m., and
                                  14   counsel for both sides were required to appear via Zoom. (Dkt. No. 54.) At the scheduling
                                  15   conference held on August 3, counsel for Defendants failed to appear and gave no notice or reason
                                  16   to either the Court or opposing counsel. (Dkt. No. 55.)
                                  17          Accordingly, the Court HEREBY issues an ORDER TO SHOW CAUSE why monetary
                                  18   sanctions in the amount of $250 should not be imposed on counsel. Defendants shall respond in
                                  19   writing by no later than August 9, 2023 as to why such sanctions should not be imposed.
                                  20          IT IS SO ORDERED.
                                  21   Dated: August 4, 2023
                                  22                                                  ______________________________________
                                                                                      SALLIE KIM
                                  23                                                  United States Magistrate Judge
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